    Case 3:12-cr-00105-RNC    Document 581    Filed 05/16/13   Page 1 of 2



                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA,           :
                                    :
         v.                         :        CASE NO. 3:12CR105(RNC)
                                    :
ROBERT LEE                          :


                             RULING ON MOTIONS

     In April 2012, defendant Robert Lee was indicted and

arrested on drug charges.      On May 22, 2012, the undersigned

appointed Attorney John T. Walkley as defendant's counsel.

(Docs. #18, 39.)   Pending before the court is Attorney Walkley's

Motion to Withdraw as Attorney (doc. #556) and defendant's

Motion to Appoint Counsel (doc. #559).1

     The Sixth Amendment mandates that "[i]n all criminal

prosecutions, the accused shall enjoy the right . . . to have

the Assistance of Counsel for his defence."            Defendants who

require counsel to be appointed for them are entitled to

effective counsel but not to counsel of their own choosing.

United States v. Schmidt, 105 F.3d 82, 89 (2d Cir. 1997); see

also United States v. Gonzalez-Lopez, 548 U.S. 140, 151 (2006).

This means that "defendants who do not have the means to hire

their own lawyers have no cognizable complaint so long as they

are adequately represented by attorneys appointed by the

     1
      District Judge Robert N. Chatigny referred the motions to
the undersigned. (Docs. #560, #563.)
    Case 3:12-cr-00105-RNC   Document 581   Filed 05/16/13   Page 2 of 2



courts."   United States v. Kopp, No. 00-CR-189A, 2007 WL

1747165, at *2 (W.D.N.Y. June 18, 2007).        As a result,

substitute counsel is not granted lightly.        Id. at *4.

     The decision whether to grant substitute counsel rests in

the discretion of the district court.       United States v. John Doe

No. 1, 272 F.3d 116, 122 (2d Cir. 2001).        The Second Circuit has

adopted a four-part test to evaluate the district court's

exercise of that discretion: (1) whether defendant made a timely

motion requesting new counsel; (2) whether the trial court

adequately inquired into the matter; (3) whether the conflict

between the defendant and his attorney was so great that it

resulted in a total lack of communication preventing an adequate

defense; and (4) whether the defendant substantially and

unjustifiably contributed to the breakdown in communication.

Id. at 122-23.   After a hearing on May 9, 2013 at which the

court inquired of defendant Lee, Attorney Walkley and counsel

for the government and considered all relevant factors, the

court concludes that the conflict between defendant Lee and

Attorney Walkley can be remedied and will not prevent an

adequate defense.   The motions (docs. #556, #559) are DENIED.

     SO ORDERED at Hartford, Connecticut this 16th day of May,

2013.

                                 _______________/s/___________
                                 Donna F. Martinez
                                 United States Magistrate Judge

                                   2
